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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Lowell P. Burris and Joyce P. Burris,           Civil No. 07-CV-3938 JRT/JJK

                              Plaintiffs,
vs.                                          GULF UNDERWRITERS INSURANCE
                                            COMPANY’S MEMORANDUM OF LAW
Versa Products, Inc., and G and L           IN RESPONSE TO LOWELL P. BURRIS
Products, Inc.,                              AND JOYCE P. BURRIS’ MOTION TO
                                                   COMPEL DISCOVERY
                           Defendants,
and

Gulf Underwriters Insurance
Company,

                 Defendant/Intervenor.

                                 INTRODUCTION

       This is a motion to compel the production of immaterial “unredacted”

documents that comprise an insurance claim file. Through their discovery

requests and this motion, Plaintiffs seek to discover information which is

completely unrelated to the substantive issues in this case. Gulf Underwriters

Insurance Company (“Gulf”) has gone above and beyond its discovery

obligations in this case and previously suggested a Magistrate in camera review

of the contested documents in lieu of formal motion practice. In response,

Plaintiffs brought this motion. Gulf has produced its entire claim file relating to

this case with limited redactions that relate only to propriety insurance premium

calculations or “pricing” information and information that is protected by the
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attorney/client privilege. The information sought through this motion is irrelevant

and not reasonably calculated to lead to the discovery of information.         The

motion should be denied.

                                      FACTS

1.    Substantive background

      This is a combined products liability case and insurance coverage dispute.

Plaintiffs have alleged, and Gulf denies, that a “claims made” insurance policy

issued by Gulf to Defendants Versa Products, Inc. and G and L Products, Inc.

(collectively “Versa”) provides insurance coverage for Plaintiffs’ claims in this

case. The insurance coverage issue is in the briefing stages of cross-motions for

summary judgment

      This case and the pending summary judgment motions involve two

discrete coverage issues. First, because of the “claims made” nature of the Gulf

policy, coverage is only afforded for claims that were “received and recorded” by

Gulf or Versa during the time the policy was in effect. Both Gulf and Versa have

demonstrated that neither received notice of Plaintiffs’ claim in 2003, when the

Gulf policy was in effect. Plaintiffs contend otherwise.

      Second, Gulf has asserted an alternative policy defense under the Gulf

policy’s notice provisions which required Versa to give Gulf notice of a received

claim “as soon as practicable.” Gulf’s position is that even if Versa did receive

notice of the Plaintiffs’ claim in 2003 while the Gulf policy was in effect, Versa



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breached the terms of the policy since Gulf did not receive notice of the claim

until after December 21, 2007, more than four years later.

2.    Discovery and related communications in this case

      On October 26, 2012, Plaintiffs served Gulf with Interrogatories and

Requests for Production of Documents and Things. On November 29, 2012,

Gulf provided Plaintiffs with detailed answers to Plaintiffs’ interrogatories (Case

No. 07-3938, Docket No. 130-3, pp. 2-10), and also provided Plaintiffs with 185

pages of documents. (Case No. 07-3938, Docket No. 130-3, pp. 11-16) Some of

those documents had portions redacted.

      On or about December 3, 2012, Plaintiffs sent Gulf a letter requesting that

Gulf resend the documents in unredacted form. (Case No. 07-3938, Docket No.

130-4) Gulf responded on December 10, 2012. (See Email Correspondence from

Nicholas O’Connell to Tom Handorff dated December 10, 2012 (“December 10

Email”) attached to the Affidavit of Nicholas J. O’Connell (“O’Connell Aff.”) as

Exhibit 1.) Gulf indicated that it had reconsidered many of the redactions and

provided Plaintiffs with amended redacted documents. (Id.) Gulf also colored

the redacted portions of the new documents in black so Plaintiffs could see the

context in which those redactions were made. (Id.) Again, Gulf explained that

the redactions “relate to formulaic computations for insurance pricing which are

considered proprietary trade secrets.” (Id.) Gulf also specified that the redaction

on document 00174 related to an attorney/client communication. (Id.)



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      Plaintiffs replied on December 14, 2012 indicating that “there are still

several pages ‘REDACTED’ much of which looks to be important information

related to coverage issues that are before the Court.” (Case No. 07-3938, Docket

No. 130-7)

      Gulf responded to Plaintiffs reiterating that “the only information redacted

in our document production relates to attorney/client privileged information and to

confidential, proprietary, trade secrets of [Gulf] regarding calculation of premiums

and insurance pricing.”    (Case No. 07-3938, Docket No. 130-10, p. 1)         Gulf

concluded by stating, “if you can offer a bona fide explanation as to how the

insurance pricing information we have redacted is probative to whether notice of

the Burris claim was received and recorded, [Gulf] will reconsider its redactions.

Until then, our position remains unchanged.” (Id.)

      On December 18, 2012, Plaintiffs again wrote to Gulf, stating that “Gulf’s

amended redaction of some of the documents is totally unacceptable” because

Gulf “provided no legal basis upon which [it had] the right to deny disclosure to

the information requested.” (Case No. 07-3938, Docket No. 130-9)

      The next day, Gulf responded to Plaintiffs suggesting the parties meet and

confer as required under the rules. (Case No. 07-3938, Docket No. 130-10, p. 2)

Gulf articulated its position that Plaintiffs had not met their meet and confer

requirements and concluded by stating, “[A]s part of our meet and confer

requirements pursuant to Fed. R. Civ. P. 37 or Local Rule 7.1, I agree to an in

camera review of the redacted information by Magistrate Keyes. I suspect this

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would be much more economical and efficient compared to formal motion

practice.” (Id.)

      Plaintiffs replied, simply indicating “We have satisfied the requirements

pursuant to Rule 37 and Local Rule 7.1.” (Case No. 07-3938, Docket No. 130-

12) Without further explanation, Plaintiffs stated, “[w]e feel a formal motion will

be necessary so that Judge Keyes is full informed of the facts and circumstances

before he issues an order.” (Id.)

      Gulf stands by its position that an in camera review of the redacted

documents will substantiate its assertion that the redacted information has

absolutely no relevance or relation to the coverage issues before this Court.

Accordingly, upon the filing of this Memorandum in Response to Plaintiffs’ Motion

to Compel Discovery, Gulf has simultaneously mailed a confidential letter to

Magistrate Keyes enclosing each of the documents that were redacted in both

original and redacted form. Gulf has also created a detailed summary of the

redacted documents showing the page that was redacted, a general description

of what information was redacted, and the basis for the redaction. (See Summary

of Redacted Documents attached to O’Connell Aff. as Exhibit 2).

                            STANDARD OF REVIEW

      Federal Rule of Civil Procedure 37 allows a party to move for an order

compelling disclosures of discovery. Fed. R. Civ. P. 26(b)(1) provides the general

standard for discoverable material and specifically requires that discovery be

“reasonably calculated to lead to the discovery of admissible evidence.” Fed. R.

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Civ. P. 26(c)(1) anticipates that in certain cases, discovery of trade secrets

should either be limited or not permitted. Rule 26(c)(1) provides, in part, that:

      The court may, for good cause, issue an order to protect a party or
      person from annoyance, embarrassment, oppression, or undue
      burden or expense, including one or more of the following:

                                   *      * *
      (G) requiring that a trade secret or other confidential research,
      development, or commercial information not be revealed or be
      revealed only in a specified way...

Fed. R. Civ. P. 26(c)(1)(G).

      The discovery rules “should not be misapplied so as to allow fishing

expeditions in discovery. Some threshold showing of relevance must be made

before parties are required to open wide the doors of discovery and to produce a

variety of information which does not reasonably bear upon the issues in the

case.” Hofer v. Mack Trucks, 981 F.2d 377, 380 (8th Cir.1992). When proprietary

information or trade secrets are involved, “If the party seeking discovery fails to

show both the relevance of the requested information and the need for the

material in developing its case, there is no reason for the discovery request to be

granted…” In re Remington Arms Co., Inc., 952 F.2d 1029, 1032 (8th Cir. 1991).

                                    ARGUMENT

      In summary, Gulf has produced its entire claim file with redactions limited

to proprietary insurance pricing information. The redacted material has no

bearing on the limited coverage issues before the Court. Gulf respectfully

requests that Plaintiffs’ motion be denied.


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      Plaintiffs agree that the limited issues in this case relate to: (1) whether

Versa or Gulf received a March 14, 2003 “claim letter,” and (2) whether Gulf was

prejudiced by the delay of notice of Plaintiffs’ claim. (Case No. 07-3938, Docket

No. 129, p. 3) As Gulf has repeatedly communicated to Plaintiffs, the redacted

information contained within the documents produced by Gulf “relate[s] to

formulaic computations for insurance pricing which are considered proprietary

trade secrets.” (See December 10 Email attached to O’Connell Aff. as Exhibit 1)

      The redacted insurance formulas are immaterial to the limited issues in this

case. Gulf colored the redacted portions of the produced documents so Plaintiffs

could see the context in which those redactions were made. (See December 10

Email attached to O’Connell Aff. as Exhibit 1)1 Despite Gulf’s efforts and the

representation of counsel, Plaintiffs speculate that “the redactions relate to issue

[sic] as to Versa’s business and company status including its mailing address,

prior claims made against Versa, the effective dates and status of insurance

coverage, the termination of insurance coverage, and issues concerning David

Lambert and his status with Versa and his location of residence.” (Case No. 07-

3938, Docket No. 129, p. 6-7) Plaintiffs’ assertion in that regard is misplaced




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  In Nestle Foods Corp. v. Aetna Cas. & Sur. Co., 135 F.R.D. 101, 107 (D.N.J.
1990), the court approved the practice of redacting confidential information and
held, “Defendants [insurers] further object to production based upon concerns of
divulging trade secrets and business practices. This fear can be alleviated by
redacting confidential information…from the files. Redaction of confidential
information will not deprive plaintiff of the information it requests…”
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conjecture. The redacted information is wholly unrelated to the issues in this

case.

                                   CONCLUSION

          Gulf has gone beyond its discovery obligations by producing its entire

claim file with limited redactions. Gulf requests that the Court review the

contested documents in camera, deny Plaintiffs’ motion and hold that the

requested information is irrelevant and beyond the scope of discovery.

                                       MURNANE BRANDT



Dated: January 30, 2013                s/Nicholas J. O’Connell______
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